     Case: 1:16-cv-06144 Document #: 24 Filed: 10/12/16 Page 1 of 9 PageID #:84



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JOANNA SANCHEZ, individually and)
on behalf of all others similarly situated,
                                )
                                )
                                )                    Case No. 16-cv-06144
                Plaintiff,      )
                                )                    Hon. John Robert Blakey
            vs.                 )
                                )                    Magistrate Judge Sheila Finnegan
JOHN LEE JACKSON, and UNIVERSAL )
FIDELITY, LP,                   )
                                )
                Defendants.     )

         PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS

        Now Comes Plaintiff, Joanna Sanchez, by and through her attorneys, and for her

Response to Defendant’s Motion to Dismiss, states as follows:

                                          INTRODUCTION

        Defendants Universal Fidelity, L.P. (“Universal”), and John Lee Jackson (“Jackson”)

seek to dismiss this action pursuant to Federal Rule of Civil Procedure 12(b)(6), claiming that

Defendant Jackson was not a debt collector and thus not required to make any of the required

disclosures under the Fair Debt Collection Practices Act (“FDCPA”).

        Defendants claim that Plaintiff has “concocted” a new and meritless purported FDCPA

violation. (Dkt. #22, Defendants’ Motion to Dismiss, p. 1). Defendants attempt to argue that

Defendant Jackson was acting on behalf of Universal as an “agent”, and not an independent debt

collector required to make disclosures of consumer rights pursuant to the FDCPA. (Dkt. #22, pp.

1-2, 4-5).




                                                1
     Case: 1:16-cv-06144 Document #: 24 Filed: 10/12/16 Page 2 of 9 PageID #:85



       Plaintiff’s claim is not new to the amended complaint, and as will be shown below,

Plaintiff has made facially plausible claims necessary to withstand the Motion to Dismiss, and

respectfully requests that Defendants’ Motion to Dismiss be denied.

                                           STANDARD

       A Rule 12(b)(6) motion tests the sufficiency of the complaint, not the merits of the case.

See Gibson v. City of Chicago, 910 F. 2d 1510, 1520 (7th Cir. 1990). In reviewing a motion to

dismiss under Fed. R. Civ. P. 12(b)(6), the court reviews all facts alleged in the complaint and

any reasonable inferences drawn therefrom in the light most favorable to the plaintiff. See

Marshall-Mosby v. Corporate Receivables, Inc., 205 F.3d 323, 326 (7th Cir. 2000); Capitol

Leasing Co. v. FDIC, 999 F.2d 188, 191 (7th Cir. 1993). Documents which are referred to in a

complaint and are central to a claim, as well as any matters of public record, may be considered

on a motion to dismiss. See Albany Bank & Trust Co. v. Exxon Mobil Corp., 310 F.3d 969, 971

(7th Cir. 2002); Henson v. CSC Credit Servs., 29 F.3d 280, 284 (7th Cir. 1994). To survive a

motion to dismiss, a complaint must contain sufficient facts to state a facially plausible claim to

relief. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009).

       Dismissal is warranted only if the allegations are “enough to raise a right to relief above

the speculative level, on the assumption that all the allegations in the complaint are true (even if

doubtful in fact).” Bell Atlantic Corporation v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955

(2007). The complaint must: “(1) describe[] the claim in sufficient detail to give the defendant

fair notice of what the claim is and the grounds upon which it rests and (2) plausibly suggest[]

that the plaintiff has a right to relief above a speculative level.” Bravo v. Midland Credit Mgmt.,

Inc., 812 F. 3d 599, 601–02 (7th Cir. 2016) (citing Bell Atlantic Corp., 550 U.S. at 555; 127 S.

Ct. 1955).



                                                  2
      Case: 1:16-cv-06144 Document #: 24 Filed: 10/12/16 Page 3 of 9 PageID #:86



        The FDCPA “is a strict liability statute, and debt collectors whose conduct falls short of

its requirements are liable irrespective of their intentions.” Ruth v. Triumph P’ships, 577 F.3d

790, 805 (7th Cir. 2009).

                                            ARGUMENT

 I.     Attorney John Lee Jackson is a Debt Collector

        Defendants attempt to argue that attorney John Lee Jackson is not a debt collector.

Defendants state that Jackson “was acting on behalf of and as an agent for Universal, the only

debt collector in this case,” and that Jackson “is not the debt collector nor has any independent

authority to engage in debt collection activities. . . .” (Dkt. #22, p. 4) (emphasis in original).

        For a definition of a “debt collector,” we look to the FDCPA. 15 U.S.C. § 1692a of the

FDCPA provides as follows:

        . . . (6) The term “debt collector” means any person who uses any
        instrumentality of interstate commerce or the mails in any business the
        principal purpose of which is the collection of any debts, or who regularly
        collects or attempts to collect, directly or indirectly, debts owed or due or
        asserted to be owed or due another. . . .

        15 U.S.C. § 1692a(6).

        Attorneys are not exempt from the definition of a “debt collector.” In fact, a 1986

revision to the FDCPA repealed a special exemption reserved for attorneys, and now it appears

that Congress intended that “lawyers be subject to the [FDCPA] whenever they meet the general

‘debt collector’ definition.” Heintz v. Jenkins, 514 U.S. 291, 295, 115 S. Ct. 1489, 1491 (1995).

Attorneys meet the “debt collector” definition by regularly collecting or attempting to collect

debts owed to another. Id. at 294 (citing Black’s Law Dictionary 263 (6th ed. 1990) (“To collect

a debt or claim is to obtain payment or liquidation of it, either by personal solicitation or legal

proceedings”)).



                                                   3
     Case: 1:16-cv-06144 Document #: 24 Filed: 10/12/16 Page 4 of 9 PageID #:87



       A person may regularly collect debts even if debt collection is not the principal purpose

of his business, or only constitutes a small fraction of his total business activity. Hester v.

Graham, Bright & Smith, P.C., 289 Fed. Appx. 35, 41 (5th Cir. 2008) (internal citations

omitted). Courts have considered various factors in determining whether an attorney or law firm

is a “debt collector” under the FDCPA including: (1) the number of collection communications

issued and/or collection litigation matters pursued; (2) the frequency of collection

communications or litigation; (3) whether the entity has personnel specifically assigned to debt

collection; (4) whether the entity has systems or contractors in place to facilitate collection

activity; (5) whether the activity is undertaken in connection with ongoing client relationships

with entities that retained the lawyer or firm to assist in the collection of outstanding consumer

debt obligations. Goldstein v. Hutton, Ingram, Yuzek, Gainen, Carroll & Bertolotti, 374 F. 3d 56,

62-63 (2d Cir. 2004) (cited by James v. Wadas, 724 F. 3d 1312 (10th Cir. 2013)).

       Defendants claim that because Defendant Jackson is a 1099 independent contractor rather

than a W-2 employee, shares a mailing address with Universal, and lacks “any independent

authority to engage in debt collection activities,” he is not a “debt collector” under the FDCPA.

(Dkt. #22, pp. 4-5). However, these factors are completely irrelevant for purposes of determining

whether a person or entity is a “debt collector” under the FDCPA. The FDCPA does not define a

debt collector by what they are authorized to do, but rather, by their actions. See 15 U.S.C. §

1692a(6). Plaintiff’s well-pled allegations state that Defendant Jackson is an independent debt

collector that uses instrumentalities of interstate commerce, specifically the mails, to attempt to

collect consumer debts allegedly owed to others. (Dkt. #18, Plaintiff’s First Amended Class

Complaint, ¶¶ 6, 12, 17-18); see 15 U.S.C. § 1692a(6).




                                                  4
      Case: 1:16-cv-06144 Document #: 24 Filed: 10/12/16 Page 5 of 9 PageID #:88



       Furthermore, Jackson’s letter states that he, on retainer with Universal as a non-

employee, is “involved in the collection strategy of the outstanding accounts owed to

[Universal],” and that he was sending the collection letter “to request you pay this account

owed,” which letter(s) were reviewed and approved by him. See Collection Letter, attached to

Plaintiff’s Amended Class Complaint as Exhibit B; see Goldstein, 374 F. 3d at 62-63.

       Thus, Defendant Jackson is a debt collector under the FDCPA, and is not exempt from its

requirements, including the required § 1692g notices of a consumer’s rights in the debt

collector’s initial communication with the consumer.

II.    An Attorney Acting On Behalf of a Debt Collector is Not Exempt from the FDCPA

       Defendants’ claim that attorney Jackson is not a debt collector leads them to the

conclusion that Jackson was not required to make any disclosures pursuant to the FDCPA. (Dkt.

#22, p. 7). However, attorney Jackson is a debt collector. See infra Section I. Furthermore,

attorney Jackson is not an employee of Universal. (Dkt. #18, ¶ 17); (Dkt. #22, pp. 4-5); see also

Collection Letter, attached to Plaintiff’s Amended Class Complaint as Exhibit B. Regardless of

the scope of Jackson’s “agency” for Universal, he is still a non-employee, and an independent

debt collector. An owner or employee of a collection agency is only personally liable under the

FDCPA either when actively involved in the collection of a debt, or in the event the corporate

veil was pierced. Pettit v. Retrieval Masters Creditors Bureau, Inc., 211 F. 3d 1057, 1059 (7th

Cir. 2000), reh’g denied, 2000 U.S. App. LEXIS 12848 (7th Cir. June 7, 2000). Jackson cannot

receive immunity under the FDCPA when he is neither an employee nor the owner of Universal,

but rather, is acting as an independent debt collector.

       Each independent debt collector that attempts to collect a debt must send its own

validation notice. Hernandez v. Williams, Zinman & Parham PC, 2016 WL 3913445 (9th Cir.



                                                  5
       Case: 1:16-cv-06144 Document #: 24 Filed: 10/12/16 Page 6 of 9 PageID #:89



July 20, 2016) (finding that Congress did not intend to minimize requirements of debt collectors,

and each new debt collector is required to make disclosure in order to protect consumer

validation rights); see also Janetos v. Fulton Friedman & Gullace, LLP, et al., No. 12 C 1473,

2013 WL 791325, at *5 (N.D. Ill. Mar. 4, 2013) (“Given the FDCPA’s purpose of curbing

abusive debt collection practices, the Court declines to read a loophole into § 1692g that would

exempt successive debt collectors from sending a validation notice”, also finding that “it is not a

heavy burden for each debt collector to comply with § 1692g’s validation requirements”);

Francis v. Snyder, 389 F. Supp. 2d 1034, 1040 n. 2 (N.D. Ill. 2004) (“The requirement of

providing valid disclosures under § 1692g applies to each debt collector”). The Federal Trade

Commission has commented that “an attorney who regularly attempts to collect debts by means

other than litigation, such as writing the consumer demand letters (dunning notices) . . . must

provide the required notice, even if a previous debt collector (or creditor) has given such notice.

53 Fed. Reg. 50097, 50108 (Dec. 13, 1988). Thus, as an independent debt collector, attorney

Jackson was required to give his own validation notice to Plaintiff under § 1692g.

III.    Because Attorney Jackson is the Debt Collector that Sent the Letter, Jackson Must
        Provide His Own Validation Notice

        Defendants claim that the validation notice from Universal suffices to meet the

requirements under the FDCPA for Defendant Jackson. However, the notice in the Letter only

refers to Universal, and only allows the consumer to contact Universal when, in fact, the

consumer has a right to contact Jackson directly to exercise her rights under the FDCPA.

        Jackson attempts to rely on Universal’s notice, however, this is improper because each

independent debt collector is required to provide validation notices in its initial communication

with a consumer. See Hernandez, 2016 WL 3913445; see also Janetos, No. 12 C 1473, 2013 WL

791325, at *5; Francis, 389 F. Supp. 2d at 1040 n. 2. In fact, were Universal to have already sent


                                                 6
      Case: 1:16-cv-06144 Document #: 24 Filed: 10/12/16 Page 7 of 9 PageID #:90



a separate notice of these validation rights and the thirty-day period following the notice Plaintiff

would have had to dispute the alleged debt, had expired, Jackson’s use of Universal’s notice

would provide the consumer no rights at all under the FDCPA. 1 By relying on Universal’s

notice, which was now expired at the time of Jackson’s letter, Jackson was, in fact, not giving

notice of Plaintiff’s rights at all.

         Jackson’s use of Universal’s now expired notice is deceptive on its face not only because

it had already expired, but also because it hides the fact that Plaintiff had the right to dispute the

alleged debt directly with Jackson, a right which had not expired at the time of Jackson’s letter.

For example, § 1692g(a)(3) of the FDCPA provides that a debt collector, in its initial

communication with a consumer, must inform the consumer that unless she disputes the validity

of the debt within thirty days, the debt will be assumed valid by the debt collector. 15 U.S.C. §

1692g(a)(3). Similarly, § 1692g(a)(4) of the FDCPA provides that the debt collector must inform

the consumer that if she notifies the debt collector within the thirty-day period that the debt is

disputed, the debt collector will obtain verification of the debt. 15 U.S.C. § 1692g(a)(4). The

same holds true for the remaining notices in § 1692g(a). By referring only to Plaintiff’s right to

dispute the debt with Universal, a right now expired, and not to Plaintiff’s right to dispute the

debt and obtain verification from Jackson himself, a right still in place at the time the notice was

sent, Jackson has failed to adequately provide the required notices under the FDCPA.

         Jackson, as a new debt collector attempting to collect the alleged debt, was the debt

collector that sent the validation notice in its initial communication on May 9, 2016, and Jackson

was the debt collector that needed to provide a thirty-day notice for the consumer to dispute the


1 Universal sent such a notice on or about March 22, 2016 advising Plaintiff of her rights. At the time Jackson sent
his letter, on or about May 9, 2016, Plaintiff’s thirty-day dispute period with Universal had already expired. Plaintiff
is willing to amend her Complaint, with leave of Court, to add the March 22, 2016 letter as an exhibit, however,
Defendants would already be aware of this letter from their own records.

                                                           7
     Case: 1:16-cv-06144 Document #: 24 Filed: 10/12/16 Page 8 of 9 PageID #:91



validity of the alleged debt, or request verification. Jackson cannot be permitted to obscure or

bury Plaintiff’s rights under § 1692g by purportedly offering Universal’s expired validation

notice in place of a direct validation notice of his own.

       Drawing all reasonable inferences in a light most favorable to Plaintiff, Plaintiff has

alleged sufficient facts to state a plausible claim under § 1692g, and therefore, Defendants’

12(b)(6) motion to dismiss must be denied.

                                          CONCLUSION

       For the reasons stated above, Defendants’ motion to dismiss should be denied. If the

complaint is found to be lacking, we respectfully request permission to amend the complaint.



                                                             Respectfully Submitted,


                                                             By: s/Celetha Chatman
                                                                  Celetha Chatman
 Michael Wood
 Celetha Chatman
 Community Lawyers Group, Ltd.
 73 W. Monroe Street, Suite 502
 Chicago, IL 60603
 Ph: (312) 757-1880
 Fx: (312) 265-3227
 mwood@communitylawyersgroup.com
 celethachatman@communitylawyersgroup.com




                                                  8
     Case: 1:16-cv-06144 Document #: 24 Filed: 10/12/16 Page 9 of 9 PageID #:92



                                 CERTIFICATE OF SERVICE


        I, Celetha Chatman, an attorney, hereby certify that on October 12, 2016, I electronica lly

filed the foregoing document using the CM/ECF system, which will send notification of such filing

to all attorneys of record.

Dated: October 12, 2016                                                    Respectfully submitted,


                                                                    By:     s/Celetha Chatman
                                                                            Celetha Chatman




                                                 9
